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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

NINA JANKOWICZ,


                            Plaintiff,

                 V.                         Civil Action No. 23-513-CFC

FOX NEWS NETWORK, LLC,
and FOX CORPORATION,

                        Defendants.



                                     ORDER

      At Wilmington on this Twenty-second day of July in 2024, for the reasons

set forth in the Memorandum issued on this day, it is HEREBY ORDERED that

Defendants' Motion To Dismiss Pursuant To Fed. R. Civ. P. 12(b)(6) For Failure To

State A Claim (D.I. 29) is GRANTED.




                                                                 CF JUDGE



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